Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF ALABAMA, MOBILE DIVISION

Case number (if known)                                                     Chapter      11
                                                                                                                            Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Ivy Capital Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  458 Ivy Cir                                                    458 Ivy Cir
                                  Fairhope, AL 36532-1420                                        Fairhope, AL 36532-1420
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Baldwin                                                        Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 458 Ivy Cir Fairhope, AL 36532-1420
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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Debtor    Ivy Capital Group, LLC                                                                       Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7

     A debtor who is a “ small            Chapter 9
     business debtor”must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     (whether or not the debtor is a                             cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     “small business debtor” ) must                              procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                 (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                 under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                 sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy
     cases filed by or against the
                                       No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                    Case number
                                                District                                  When                                    Case number




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Debtor    Ivy Capital Group, LLC                                                                            Case number ( if known )
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                           No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                        Relationship
                                                     District                                  When                                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                       No
                                                    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                     Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                     No
                                                     Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                 After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                1-49                                               1,000-5,000                                  25,001-50,000
    creditors                                                                              5001-10,000                                  50,001-100,000
                                        50-99
                                        100-199                                           10,001-25,000                                More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                        $50,001 - $100,000                                $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                               $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                       $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion

16. Estimated liabilities               $0 - $50,000                                      $1,000,001 - $10 million                     $500,000,001 - $1 billion
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Debtor   Ivy Capital Group, LLC                                                         Case number ( if known )
         Name

                              $50,001 - $100,000                        $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                              $500,001 - $1 million                     $100,000,001 - $500 million               More than $50 billion




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Debtor    Ivy Capital Group, LLC                                                                          Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       June 13, 2023
                                                    MM / DD / YYYY


                              X   /s/ Mark Usselman                                                              Mark Usselman
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   Managing Member




18. Signature of attorney     X   /s/ Alexandra K. Garrett                                                         Date June 13, 2023
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Alexandra K. Garrett
                                  Printed name

                                  Silver, Voit & Garrett
                                  Firm name


                                  4317-A Midmost Dr.
                                  Mobile, AL 36609
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (251) 343-0800                  Email address         agarrett@silvervoit.com

                                  GARRA3702
                                  Bar number and State




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Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
                                                              Document     Page 5 of 31
    Fill in this information to identify the case:

Debtor name       Ivy Capital Group, LLC

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF ALABAMA, MOBILE DIVISION

Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’     s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
      serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 13, 2023                     X /s/ Mark Usselman
                                                             Signature of individual signing on behalf of debtor

                                                              Mark Usselman
                                                              Printed name

                                                              Managing Member
                                                              Position or relationship to debtor




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        Fill in this information to identify the case:
 Debtor name Ivy Capital Group, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                    Check if this is an
                                               ALABAMA, MOBILE DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Baldwin County                  Teddy Faust                 Real Property                                                                                                 $5,992.60
 Revenue                                                     Taxes
 Commisioner
 PO Box 1549
 Bay Minette, AL
 36507-1549
 Chase, Inc.                                                 Credit Card                                                                                                   $2,944.00
 c/o National Bank
 by Mail
 PO Box 6185
 Westerville, OH
 43086-6185
 Fairhope Public                                             Utilities                                                                                                     $2,158.00
 Utilities
 PO Box 429
 Fairhope, AL
 36533-0429
 Mark Usselman                                                                                                                                                                   $1.00
 5927 Folsom Dr
 La Jolla, CA
 92037-7326




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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            Fill in this information to identify the case:

 Debtor name            Ivy Capital Group, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF ALABAMA, MOBILE DIVISION

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                   $          700,000.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                      $          172,000.00

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                     $          872,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                   $          458,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                      $              5,992.60

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                                +$              5,103.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             469,095.60




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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            Fill in this information to identify the case:

 Debtor name          Ivy Capital Group, LLC

 United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF ALABAMA, MOBILE DIVISION

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’ s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
      Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)          Type of account                            Last 4 digits of account
                                                                                                             number


            3.1.     Chase Bank, NA                                       Checking                           7133                                  $100,000.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                   $100,000.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No.    Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No.    Go to Part 4.
       Yes Fill in the information below.

 Part 4:           Investments
13. Does the debtor own any investments?

      No.    Go to Part 5.
       Yes Fill in the information below.

Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                                  page 1
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                Name



 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No.     Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.     Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No.     Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.     Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
    Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                      Nature and extent   Net book value of      Valuation method used     Current value of
           property                                         of debtor's         debtor's interest      for current value         debtor's interest
           Include street address or other                  interest in         (Where available)
           description such as Assessor                     property
           Parcel Number (APN), and type of
           property (for example, acreage,
           factory, warehouse, apartment or
           office building, if available.
           55.1.
                    458 Ivy Cir, Fairhope,
                    AL 36532-1420                           Fee Simple                 $700,000.00     Debtor's Estimat                    $700,000.00



 56.       Total of Part 9.                                                                                                             $700,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
           No
            Yes
 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
            Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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 Debtor         Ivy Capital Group, LLC                                                        Case number (If known)
                Name

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
    Yes Fill in the information below.
            General description                                             Net book value of          Valuation method used      Current value of
                                                                            debtor's interest          for current value          debtor's interest
                                                                            (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            Mark Usselman Real Estate Broker License                                   $2,000.00       Fees paid                             $2,000.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $2,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
    Yes Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Ivy Capital Group, LLC                                                     Case number (If known)
                Name

           Unliquidated breach of contract claim against
           McMurray Construction                                                                                            $45,000.00
           Nature of claim        Breach of Contract
           Amount requested                       $45,000.00


           Unliquidated breach of contract claim against Gulf
           States Construction                                                                                              $25,000.00
           Nature of claim        Breach of Contract
           Amount requested                       $25,000.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                               $70,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
           No
            Yes




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                     page 4
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 Debtor           Ivy Capital Group, LLC                                                                               Case number (If known)
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                     Current value of real
                                                                                                      personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $100,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                            $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                $0.00

 83. Investments. Copy line 17, Part 4.                                                                                        $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                          $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                 $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                     $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                 $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                          $700,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                      $2,000.00

 90. All other assets. Copy line 78, Part 11.                                                     +                   $70,000.00

 91. Total. Add lines 80 through 90 for each column                                                              $172,000.00           + 91b.              $700,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $872,000.00




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                       page 5
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                  Case 23-11339                        Doc 1            Filed 06/13/23 Entered 06/13/23 16:25:17                                         Desc Main
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           Fill in this information to identify the case:

 Debtor name          Ivy Capital Group, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF ALABAMA, MOBILE DIVISION

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
        UMB Bank as Trustee for
 2.1                                                  Describe debtor's property that is subject to a lien                   $458,000.00               $700,000.00
        PRL Title Trust
        Creditor's Name                               458 Ivy Cir, Fairhope, AL 36532-1420

        120 S 6th St Ste 1400
        Minneapolis, MN
        55402-1807
        Creditor's mailing address                    Describe the lien
                                                      Mortgage 458 Ivy Circle, Fairhope, AL 36532,
                                                      Baldwin Co. Probate Records Inst. 1
                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        07/28/2021                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        6196
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        No                                            Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative      Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $458,000.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you    Last 4 digits of
                                                                                                               enter the related creditor?        account number for
                                                                                                                                                  this entity
         McCalla Raymer Leibert Pierce, LLC
         2 N Twentieth 2-20th St N Ste 1000                                                                   Line   2.1                                   6196
         Birmingham, AL 35201

         Rushmore Loan Management Services, LLC
         15480 Laguna Canyon Rd Ste 100                                                                       Line   2.1                                   6196
         Irvine, CA 92618-2132

Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
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 Debtor      Ivy Capital Group, LLC                                                     Case number (if known)
             Name




Official Form 206D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property               page 2 of 2
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    Fill in this information to identify the case:

 Debtor name         Ivy Capital Group, LLC

 United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF ALABAMA, MOBILE DIVISION

 Case number (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
          Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
          priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                          Total claim            Priority amount

 2.1       Priority creditor's name and mailing address          As of the petition filing date, the claim is:                                       $5,992.60      $5,992.60
           Baldwin County Revenue                                Check all that apply.
           Commisioner                                            Contingent
                                                                  Unliquidated
           PO Box 1549                                            Disputed
           Bay Minette, AL 36507-1549
           Date or dates debt was incurred                       Basis for the claim:
           10/01/2023                                            Property Taxes
           Last 4 digits of account number                       Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                     $2,944.00
           Chase, Inc.                                                          Contingent
           c/o National Bank by Mail                                            Unliquidated
           PO Box 6185                                                          Disputed
           Westerville, OH 43086-6185
                                                                               Basis for the claim:     Credit card
           Date(s) debt was incurred 2023
           Last 4 digits of account number                                     Is the claim subject to offset?   No  Yes
 3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                     $2,158.00
           Fairhope Public Utilities                                            Contingent
                                                                                Unliquidated
           PO Box 429                                                           Disputed
           Fairhope, AL 36533-0429
                                                                               Basis for the claim:     Utilities
           Date(s) debt was incurred 2023
           Last 4 digits of account number     9466                            Is the claim subject to offset?   No  Yes



Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 1 of 2
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 Debtor       Ivy Capital Group, LLC                                                                 Case number (if known)
              Name

 3.3       Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.                       $1.00
           Mark Usselman                                                    Contingent
                                                                            Unliquidated
           5927 Folsom Dr                                                   Disputed
           La Jolla, CA 92037-7326
                                                                           Basis for the claim:   Member Loan
           Date(s) debt was incurred 2022-2023
           Last 4 digits of account number                                 Is the claim subject to offset?   No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                 On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                    related creditor (if any) listed?                  account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                          5a.        $                          5,992.60
 5b. Total claims from Part 2                                                                          5b.    +   $                          5,103.00
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                               5c.        $                              11,095.60




Official Form 206 E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 2
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           Fill in this information to identify the case:

 Debtor name        Ivy Capital Group, LLC

 United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF ALABAMA, MOBILE DIVISION

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal    Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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           Fill in this information to identify the case:

 Debtor name        Ivy Capital Group, LLC

 United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF ALABAMA, MOBILE DIVISION

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
      Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
      creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                    Name                            Check all schedules
                                                                                                                                 that apply:
     2.1     Mark Usselman                    5927 Folsom Dr                                     Chase, Inc.                     D
                                              La Jolla, CA 92037-7326                                                            E/F         3.1
                                                                                                                                 G


     2.2     Mark Usselman                    5927 Folsom Dr                                     UMB Bank as                     D          2.1
                                              La Jolla, CA 92037-7326                            Trustee for PRL Title            E/F
                                                                                                 Trust
                                                                                                                                 G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 1
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           Fill in this information to identify the case:

 Debtor name        Ivy Capital Group, LLC

 United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF ALABAMA, MOBILE DIVISION

 Case number (if known)
                                                                                                                                         Check if this is an
                                                                                                                                          amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                        04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’
          s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’
                                                            s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                           Check all that apply                        (before deductions and
                                                                                                                                          exclusions)

       From the beginning of the fiscal year to filing date:                                  Operating a business                                   $24,000.00
       From 1/01/2023 to Filing Date
                                                                                               Other


       For prior year:                                                                        Operating a business                                   $24,000.00
       From 1/01/2022 to 12/31/2022
                                                                                               Other


       For year before that:                                                                  Operating a business                                   $12,000.00
       From 5/01/2021 to 4/30/2022
                                                                                               Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
   royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                              Description of sources of revenue           Gross revenue from
                                                                                                                                          each source
                                                                                                                                          (before deductions and
                                                                                                                                          exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before filing this
   case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years
   after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                        Dates                  Total amount of value        Reasons for payment or transfer
                                                                                                                              Check all that apply




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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 Debtor       Ivy Capital Group, LLC                                                                    Case number (if known)



       Creditor's Name and Address                                        Dates                  Total amount of value          Reasons for payment or transfer
                                                                                                                                Check all that apply
       3.1.
               1st Choice Construction                                    Jan-June                          $20,000.00           Secured debt
               3166 Emogene St                                            2023                                                   Unsecured loan repayments
               Mobile, AL 36606-5004                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.2.
               BJ Electic                                                 May 2023                          $13,000.00           Secured debt
               5020 Government Blvd                                                                                              Unsecured loan repayments
               Mobile, AL 36693-5022                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.3.
               Chase , Inc.                                               April-May                         $15,000.00           Secured debt
               PO Box 6294                                                2023                                                   Unsecured loan repayments
               Carol Stream, IL 60197-6294                                                                                       Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                Other   Credit card payments


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
   cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
   adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
   Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
   relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                         Dates                  Total amount of value          Reasons for payment or transfer
       Relationship to debtor
       4.1.    Mark Usselman                                              June                                     $0.00        Member Loan Repayment
               5927 Folsom Dr                                             2022-June
               La Jolla, CA 92037-7326                                    2023
               Member                                                     (Amount not
                                                                          yet known)

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
   foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
       Creditor's name and address                           Describe of the Property                                         Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
   debtor without permission or refused to make a payment at the debtor’       s direction from an account of the debtor because the debtor owed a debt.

      None
       Creditor's name and address                           Description of the action creditor took                          Date action was                 Amount
                                                                                                                              taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
   capacity—within 1 year before filing this case.

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2

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 Debtor        Ivy Capital Group, LLC                                                                   Case number (if known)




      None.
                Case title                                    Nature of case              Court or agency's name and                  Status of case
                Case number                                                               address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
   gifts to that recipient is less than $1,000

      None
                Recipient's name and address                  Description of the gifts or contributions                  Dates given                              Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
       Description of the property lost and how              Amount of payments received for the loss                    Dates of loss                 Value of property
       the loss occurred                                                                                                                                            lost
                                                             If you have received payments to cover the loss, for
                                                             example, from insurance, government compensation, or
                                                             tort liability, list the total received.

                                                             List unpaid claims on Official Form 106A/B (Schedule
                                                             A/B: Assets –Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
    case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
    a bankruptcy case.

       None.
                 Who was paid or who received the               If not money, describe any property transferred               Dates                     Total amount or
                 transfer?                                                                                                                                       value
                 Address
       11.1.     Silver, Voit & Garrett
                 4317-A Midmost Dr.                                                                                           June 12,
                 Mobile, AL 36609                                                                                             2023                           $9,200.00

                 Email or website address


                 Who made the payment, if not debtor?




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 3

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                 Who was paid or who received the               If not money, describe any property transferred               Dates               Total amount or
                 transfer?                                                                                                                                 value
                 Address
       11.2.     Benton Centeno & Morris,
                 LLP
                 2019 3rd Ave N
                 Birmingham, AL 35203-3301                                                                                    May 2023                  $5,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
    self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
       Name of trust or device                                  Describe any property transferred                     Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
    years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
    outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
                Who received transfer?                        Description of property transferred or                     Date transfer was        Total amount or
                Address                                       payments received or debts paid in exchange                made                              value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
                 Address                                                                                                  Dates of occupancy
                                                                                                                          From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.

                 Facility name and address                    Nature of the business operation, including type of services the           If debtor provides meals
                                                              debtor provides                                                            and housing, number of
                                                                                                                                         patients in debtor’
                                                                                                                                                           s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4

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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


 Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’
                                                                                                        s name, or for the debtor’
                                                                                                                                 s benefit, closed, sold, moved,
    or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
                Financial Institution name and                Last 4 digits of           Type of account or           Date account was          Last balance before
                Address                                       account number             instrument                   closed, sold,              closing or transfer
                                                                                                                      moved, or
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.


      None
       Depository institution name and address                     Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?
                                                                   Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which
    the debtor does business.


      None
       Facility name and address                                   Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?


 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
    leased or rented property.

     None
       Owner's name and address                                    Location of the property               Describe the property                                 Value
       Mark Usselman                                               458 Ivy Cir                            Lawn more                                         $475.00
       5927 Folsom Dr                                              Fairhope, AL 36532-1420
       La Jolla, CA 92037-7326

       Owner's name and address                                    Location of the property               Describe the property                                 Value
       Mark Usselman                                               458 Ivy Cir                            Weed eater                                        $275.00
       5927 Folsom Dr                                              Fairhope, AL 36532-1420
       La Jolla, CA 92037-7326

       Owner's name and address                                    Location of the property               Describe the property                                 Value
       Kevin and Fallon Usselman                                   458 Ivy Cir                            2 refridgerators                                  $200.00
       8727 Gale Rowe Ln                                           Fairhope, AL 36532-1420
       Fairhope, AL 36532-4797



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 Debtor      Ivy Capital Group, LLC                                                                     Case number (if known)



       Owner's name and address                                    Location of the property               Describe the property                                  Value
       Kevin and Fallon Usselman                                   458 Ivy Cir                            Furniture                                            $500.00
       8727 Gale Rowe Ln                                           Fairhope, AL 36532-1420
       Fairhope, AL 36532-4797

       Owner's name and address                                    Location of the property               Describe the property                                  Value
       Kevin and Fallon Usselman                                   458 Ivy Cir                            Clothing                                             $200.00
       8727 Gale Rowe Ln                                           Fairhope, AL 36532-1420
       Fairhope, AL 36532-4797


 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
      affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
      operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
      harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

       Case title                                                  Court or agency name and               Nature of the case                           Status of case
       Case number                                                 address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
    Business name address                                   Describe the nature of the business               Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.

                                                                                                              Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’
                                                                       s books and records within 2 years before filing this case.
          None

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       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.1.       Mark Usselman                                                                                                         5/11/21 to present



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’
                                                                                     s books of account and records or prepared a financial statement within 2
         years before filing this case.

          None

    26c. List all firms or individuals who were in possession of the debtor’
                                                                           s books of account and records when this case is filed.

          None
       Name and address                                                                                     If any books of account and records are unavailable,
                                                                                                            explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
         within 2 years before filing this case.

          None
       Name and address

27. Inventories
    Have any inventories of the debtor’
                                      s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
    control of the debtor at the time of the filing of this case.

       Name                                         Address                                               Position and nature of any interest    % of interest, if
                                                                                                                                                 any
       Mark Usselman                                5927 Folsom Dr                                        Managing member                        100%
                                                    La Jolla, CA 92037-7326



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
    of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
    credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.




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              Name and address of recipient                   Amount of money or description and value of                Dates             Reason for providing
                                                              property                                                                     the value
       30.1 Mark Usselman
       .    5927 Folsom Dr                                    Payments to or on behalf of member;                                          Member loan
              La Jolla, CA 92037-7326                         value not yet known but being calculated                   2021-2023         repayment

              Relationship to debtor
              Managing Member


       30.2 Kevin Usselman                                    Payments made to third parties on
       .    8727 Gale Rowe Ln                                 behalf of member to benefit his son;                                         Member loan
              Fairhope, AL 36532-4797                         value not yet known but being calculated                   2021-2023         repayment

              Relationship to debtor
              Member's son


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

    Name of the parent corporation                                                                            Employer Identification number of the parent
                                                                                                              corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                  Employer Identification number of the pension
                                                                                                              fund

 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
      with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in thisStatement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
      correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        June 13, 2023

 /s/ Mark Usselman                                                     Mark Usselman
 Signature of individual signing on behalf of the debtor               Printed name

 Position or relationship to debtor        Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
No
 Yes




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B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                       Southern District of Alabama, Mobile Division
 In re       Ivy Capital Group, LLC                                                                          Case No.
                                                                             Debtor(s)                       Chapter      11

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                       0.00
             Prior to the filing of this statement I have received                                       $                       0.00
             Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:
                   Debtor          Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor          Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 13, 2023                                                           /s/ Alexandra K. Garrett
     Date                                                                    Alexandra K. Garrett
                                                                             Signature of Attorney
                                                                             Silver, Voit & Garrett

                                                                             4317-A Midmost Dr.
                                                                             Mobile, AL 36609
                                                                             (251) 343-0800
                                                                             agarrett@silvervoit.com
                                                                             Name of law firm




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                                                               United States Bankruptcy Court
                                                       Southern District of Alabama, Mobile Division
 In re      Ivy Capital Group, LLC                                                                                    Case No.
                                                                                    Debtor(s)                         Chapter         11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                        Security Class Number of Securities                              Kind of Interest
 business of holder
 Mark Usselman                                                  Common          100
 5927 Folsom Dr                                                 Voting Interest
 La Jolla, CA 92037-7326


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date June 13, 2023                                                          Signature /s/ Mark Usselman
                                                                                            Mark Usselman

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                  United States Bankruptcy Court
                                                            Southern District of Alabama, Mobile Division

       IN RE:                                                                                              Case No.
       Ivy Capital Group, LLC                                                                              Chapter 11
                                                             Debtor(s)

                                                            VERIFICATION OF CREDITOR MATRIX
       The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



       Date: June 13, 2023                                   Signature: /s/ Mark Usselman
                                                                          Mark Usselman, Managing Member                                  Debtor



       Date:                                                 Signature:
                                                                                                                              Joint Debtor, if any




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   Baldwin County Revenue Commisioner
   PO Box 1549
   Bay Minette, AL 36507-1549


   Chase, Inc.
   c/o National Bank by Mail
   PO Box 6185
   Westerville, OH 43086-6185


   Fairhope Public Utilities
   PO Box 429
   Fairhope, AL 36533-0429


   Mark Usselman
   5927 Folsom Dr
   La Jolla, CA 92037-7326


   McCalla Raymer Leibert Pierce, LLC
   2 N Twentieth 2-20th St N Ste 1000
   Birmingham, AL 35201


   Rushmore Loan Management Services, LLC
   15480 Laguna Canyon Rd Ste 100
   Irvine, CA 92618-2132


   UMB Bank as Trustee for PRL Title Trust
   120 S 6th St Ste 1400
   Minneapolis, MN 55402-1807




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